Case 9:23-cr-80101-AMC Document 606-2 Entered on FLSD Docket 06/07/2024 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

CASE NO. 23-80101-CR-CANNON-REINHART

UNITED STATES OF AMERICA,
Plaintiff,
V.
DONALD J. TRUMP, et al.,
Defendants.

ORDER GRANTING MOTION FOR LEAVE TO PRESENT ORAL ARGUMENTS BY
JESSICA NAN BERK AND HILDA TOBIAS KENNEDY AS AMICT IN SUPPORT OF
DEFENDANT PRESIDENT TRUMP'S MOTION TO DISMISS [ECF 326] PURSUANT TO
THE COURT ORDER: "Any Amici wishing to present oral argument during this ring must
seek leave of Court to do so no later than June 3, 2024." WITH Americans With Disabilies
REASONABLE REQUEST

THIS CAUSE having come before the Court on the Motion for Leave present Oral
Arguments by Jessica Nan Berk and Hilda Tobias Kenendy as Amici Curiae in Support of
Defendant President Trump's Motion to Dismiss [E.C.F. No. 326] (the "Motion"), it is hereby:

ORDERED AND ADJUDGED that:

The Motion is GRANTED. The oral arguments by Jessica Nan Berk and Hilda Tobias
Kenendy as Amici Curiae in Support of Defendant President Trump's Motion to Dismiss is

ordered to be filed.

DONE AND ORDERED in Chambers at , Florida, this day of
2024.

AILEEN M. CANNON
UNITED STATES DISTRICT JUDGE
